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1                               UNITED STATES DISTRICT COURT

2                                    DISTRICT OF NEVADA

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4    ESTEBAN HERNANDEZ,                                Case No. 2:18-cv-1449-MMD-CLB

5                       Plaintiff,
                                                         ORDER GRANTING MOTION
6       v.                                               TO CONTINUE DISCOVERY
7    HOWELL, et al.,
                                                                 [ECF NO. 73]
8                      Defendants.

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11           Before the Court is Plaintiff Esteban Hernandez’s (“Hernandez”) motion to extend

12   time to complete service of process on Defendant Henry Landsman, M.D. (“Landsman”).

13   (ECF No. 73.)

14           The Office of the Attorney General (“AG”) did not accept service of process on

15   behalf of Landsman who is no longer an employee of the Nevada Department of

16   Corrections. (ECF No. 53.) However, the AG filed the last known address of Landsman

17   under seal. (ECf No. 54.) The Court provided the address under seal to the U.S. Marshal

18   (“USM”) and ordered the USM to attempt service of the summons and complaint on

19   Landsman. (ECF No. 57.) The USM returned the summons unexecuted with a return of

20   service form indicating the USM had attempted service once on July 19, 2021 at 12:00

21   Noon and no one was home. (Id.) The return of service was filed under seal to protect

22   Landsman address and Hernandez was unaware of the failed service attempt until the

23   Court issued a notice of intent to dismiss Landsman pursuant to Fed. R. Civ. P. 4(m).

24   (ECF No. 70.) The instant motion followed.

25           Plaintiff’s motion to extend time to complete service on Landsman is GRANTED.

26   (ECF No. 73.) The Clerk shall ISSUE a summons for Henry Landsman, M.D. and send

27   the same to the USM with the address provided under seal. (ECF No. 54.) The Clerk

28   shall also SEND sufficient copies of the complaint, (ECF No. 50), the screening order,
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1    (ECF No. 49), and this order to the USM in Las Vegas for service on Landsman. The

2    Clerk shall also SEND to Hernandez one USM-285 form. Hernandez shall have until

3    Friday, October 15, 2021 to complete the USM-285 service form and return it to the

4    USM, 333 Las Vegas Blvd. South, Room 2058, Las Vegas, NV 89101.

5          The USM shall make three additional attempts on different dates and times

6    to serve Landsman. At least one of the attempts shall be made either Monday

7    through Friday during the hours of 6:00 pm – 9:00 p.m. or Saturday and Sunday

8    from 8:00 a.m. to 9:00 p.m. to ensure the best possibility for successful

9    completion of service.

10          September 29, 2021
     DATED: _____________

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13                                        UNITED STATES MAGISTRATE JUDGE
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